                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE


 UNITED STATES OF AMERICA,                         )
                                                   )
                        Plaintiff,                 )
                                                   )
 v.                                                )             No. 3:08-CR-46
                                                   )             (Phillips / Shirley)
 ALEJANDRO BARBA,                                  )
                                                   )
                        Defendant.                 )


                                 MEMORANDUM AND ORDER

        This matter came before the undersigned on May 30, 2008, for a scheduled detention

 hearing. Assistant United States Attorney Tracee Plowell was present representing the government.

 Attorney Sid Arismenidez was present representing Defendant Alejandro Barba, who was also

 present.

        In the Court’s oral ruling, a complete review and analysis of the parties’ positions, issues,

 and facts were stated. That specific and detailed oral ruling is attached hereto and made a part of

 this Order as if stated herein verbatim.

        For the reasons stated therein, I find, pursuant to 18 U.S.C. § 3142, that (1) the government

 has not demonstrated by a preponderance of the evidence that this defendant is a flight risk and a

 risk not to appear as required if released, and (2) the defendant has not overcome the statutory

 presumption Defendant Barba’s release would pose a danger to the community, as set forth at 18

 U.S.C. § 3142(e). Furthermore, the Court also finds that there are no conditions or combination of

 conditions of release that would reasonably assure the Court that Defendant Barba would not pose

 a danger to the safety of any other person or the community while released, even if the record were




Case 3:08-cr-00046-TWP-CCS             Document 35       Filed 06/04/08      Page 1 of 2     PageID
                                             #: 79
 considered without the statutory presumption. See 18 U.S.C. § 3142(c).

        It is therefore ORDERED that Defendant Alejandro Barba be detained pending the trial of

 this charge. Defendant will be committed to the custody of the Attorney General or his designated

 representative for confinement in a correction facility separate to the extent practicable from persons

 awaiting sentencing or serving sentences or being held in custody pending appeal. Defendant shall

 be afforded a reasonable opportunity for private consultation with defense counsel. Upon order of

 this Court or a Court of the United States or upon request of the attorney for the government, the

 person in charge of the corrections facility shall deliver Defendant to the United States Marshals for

 the purpose of an appearance in connection with a Court proceeding.

                        IT IS SO ORDERED.

                                                       ENTER:


                                                         s/ C. Clifford Shirley, Jr.
                                                       United States Magistrate Judge




                                                   2


Case 3:08-cr-00046-TWP-CCS             Document 35          Filed 06/04/08     Page 2 of 2      PageID
                                             #: 80
